              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:13-cr-00079-MR-DLH-10


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                        ORDER
                                )
JOHN LOUIS PIVONKA,             )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s letter [Doc. 287],

which the Court construes as a motion for jail credit.

      The Attorney General, not the sentencing court, is responsible for

computing a prisoner’s sentence credit. United States v. Wilson, 503 U.S.

329, 335 (1992).    A prisoner seeking review of the computation of his

sentence credit must first seek administrative review of that computation

through the Bureau of Prisons. Only after such administrative remedies have

been exhausted can a prisoner then seek judicial review of his sentence

computation. Id. Further, because “[a] claim for credit against a sentence

attacks the computation and execution of a sentence rather than the

sentence itself,” United States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989),



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such claims must be raised pursuant to 28 U.S.C. § 2241 in the district of

confinement. In re Jones, 226 F.3d 328, 332 (4th Cir. 2000); 28 U.S.C. §

2241(a).

      Here, the Defendant asserts that he has exhausted his administrative

remedies with the BOP. If that is in fact the case, the Defendant should seek

judicial review in the district of his confinement pursuant to § 2241.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter [Doc. 287],

which the Court construes as a motion, is DENIED WITHOUT PREJUDICE.

      IT IS SO ORDERED.
                                   Signed: December 14, 2015




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